                                                                            Case 18-13694-JDW            Doc 8        Filed 10/09/18 Entered 10/09/18 16:50:42                Desc Main
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                                                                                                              United States Bankruptcy Court
                                                                                                       Northern District of Mississippi, Oxford Division

                                                                   IN RE:                                                                                  Case No. 18-13694
                                                                   McCurdy, Daniel & McCurdy, Candidus                                                     Chapter 13
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: October 8, 2018                  Signature: /s/ Daniel McCurdy
                                                                                                                        Daniel McCurdy                                                         Debtor



                                                                   Date: October 8, 2018                  Signature: /s/ Candidus McCurdy
                                                                                                                        Candidus McCurdy                                           Joint Debtor, if any
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     Ad Astra Recovery Serv
     7330 W 33rd St N Ste 118
     Wichita, KS 67205-9370


     Advance America
     1698 Crescent Meadows Dr
     Holly Springs, MS 38635-7415


     Alcola Billing Center
     3429 Regal Dr
     Alcoa, TN 37701-3265


     Bank of Holly Springs
     PO Box 250
     Holly Springs, MS 38635-0250


     Baptist
     PO Box 660883
     Dallas, TX 75266-0883


     Baptist
     PO Box 17127
     Memphis, TN 38187-0127


     Baptist Memorial Healthcare Corp
     PO Box 1000
     Memphis, TN 38101-2402
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     Baptist Southeast Street
     5251 Ste 5
     Indianapolis, IN 46227


     BMH Desoto
     7601 Southcrest Pkwy
     Southaven, MS 38671-4739


     Capital One
     PO Box 30285
     Salt Lake City, UT       84130-0285


     Cash Advance America
     1698 Crescent Meadows Dr
     Holly Springs, MS 38635-7415


     Cash Net USA
     175 W Jackson Blvd Ste 1000
     Chicago, IL 60604-2863


     Cnactn109
     2580 Mount Moriah Rd
     Memphis, TN 38115-1512


     Consolidated Recovery Systems
     PO Box 1719
     Memphis, TN 38101-1719
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     Credit One Bank
     PO Box 60500
     City of Industry, CA        91716-0500


     Credit One Bank NA
     PO Box 98873
     Las Vegas, NV 89193-8873


     Dr. Charles Fraga
     PO Box 71115
     Charlotte, NC 28272-1115


     Fed Loan Serv
     PO Box 69184
     Harrisburg, PA     17106-9184


     First Premier Bank
     PO Box 5524
     Sioux Falls, SD 57117-5524


     Fsb Blaze
     PO Box 5096
     Sioux Falls, SD        57117-5096


     Gastroenterology Associates
     1208 Office Park Dr
     Oxford, MS 38655-3597
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     H&R Block
     PO Box 677463
     Dallas, TX 75267-7463


     HC FC Healthcare Financial Services, LLC
     3429 Regal Dr
     Alcoa, TN 37701-3265


     HRRG
     PO Box 5406
     Cincinnnati, OH        45273-7942


     J2 Auto Sales, LLC
     D/B/A J.D. Byrider
     2580 Mount Moriah Rd
     Memphis, TN 38115-1512


     Loan Master
     117 Craft St Ste A
     Holly Springs, MS 38635-2909


     Marshall County Justice Court
     PO Box 729
     Holly Springs, MS 38635-0729


     Maxx South
     PO Box 10027
     Toledo, OH 43699-0027
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     Memphis Lung Physician
     PO Box 17127
     Memphis, TN 38187-0127


     Memphis Radiological
     PO Box 1000
     Memphis, TN 38148-0001


     Merrick Bank Corp
     PO Box 9201
     Old Bethpage, NY 11804-9001


     Methodist Healthcare
     PO Box 2279
     Memphis, TN 38101-2279


     Methodist Healthcare
     PO Box 71115
     Charlotte, NC 28272-1115


     MFSI
     6555 Quince Rd Ste 301
     Memphis, TN 38119-8220


     Midsouth Imaging
     PO Box 5083
     Memphis, TN 38101-5083
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     Mile Stone Credit Card
     PO Box 4499
     Beaverton, OR 97076-4499


     Money Makers
     161D Van Dorn Ave
     Holly SPrings, MS       38635


     Money Matters
     161 Van Dorn Ave Ste D
     Holly Springs, MS 38635


     MSCB
     1410 Industrial Park Rd
     Paris, TN 38242-6099


     New Albany LGW
     PO Box 727
     New Albany, MS     38652-0727


     Oxford Urology Associates
     PO Box 1013
     Oxford, MS 38655-1013


     Oxford Urology Associates
     2168 S Lamar Blvd
     Oxford, MS 38655-5224
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     Plain Green
     1900 Frost Rd Ste 100
     Bristol, PA 19007-1519


     Progressive leasing
     256 W Data Dr
     Draper, UT 84020-2315


     Radiology Associates of Oxford
     PO Box 55449
     Jackson, MS 39296-5449


     Radiology Physicians of New Albany
     PO Box 4767
     Jackson, MS 39296-4767


     Scott Robinson
     195 Briarwood Dr
     Holly Springs, MS       38635-2726


     Sound Phy Em Greater Memphis
     PO Box 96408
     Oklahoma, OH 73143-6408


     Sound Phy Em Greater Memphis
     PO Box 748113
     Los Angeles, CA 90074-8113
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     Southeastern Emergency Physicians
     PO Box 740023
     Cincinnati, OH 45274-0023


     State of Mississippi
     PO Box 23078
     Jackson, MS 39225-3078


     Sutherland Cardiology Group
     PO Box 2279
     Memphis, TN 38101-2279


     Synchrony Bank
     PO Box 41021
     Norfolk, VA 23541-1021


     Tbom/Total Crd
     PO Box 400
     Dixon, MO 65459-0400


     Tn Child Support
     400 Deaderick St
     Nashville, TN 37243-1403


     Total Visa
     5109 S Broadband Ln
     Sioux Falls, SD 57108-2208
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     Universal Collections
     PO Box 751090
     Memphis, TN 38175-1090


     University of Memphis
     PO Box 1000
     Memphis, TN 38148-0001


     US Dept of Educatio
     PO Box 16448
     Saint Paul, MN 55116-0448


     Verizon Wireless
     PO Box 26055
     Minneapolis, MN 55426-0055


     Wakefield and Associates Inc
     PO Box 59003
     Knoxville, TN 37950-9003
                                                                            Case
                                                                   B201B (Form 201B)18-13694-JDW
                                                                                    (12/09)                 Doc 8      Filed 10/09/18 Entered 10/09/18 16:50:42                          Desc Main
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                                                                                                                  United States Bankruptcy Court
                                                                                                           Northern District of Mississippi, Oxford Division

                                                                   IN RE:                                                                                           Case No. 18-13694
                                                                   McCurdy, Daniel & McCurdy, Candidus                                                              Chapter 13
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                   Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                   the Social Security number of the officer,
                                                                                                                                                                   principal, responsible person, or partner of
                                                                                                                                                                   the bankruptcy petition preparer.)
                                                                                                                                                                   (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   McCurdy, Daniel & McCurdy, Candidus                                    X /s/ Daniel McCurdy                                      10/08/2018
                                                                   Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                   Case No. (if known) 18-13694                                           X /s/ Candidus McCurdy                                    10/08/2018
                                                                                                                                             Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
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               Fill in this information to identify your case and this filing:

 Debtor 1                    Daniel McCurdy
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Candidus McCurdy
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number            18-13694                                                                                                                             Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        334 Rolfing Rd
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Holly Springs                     MS        38635-1404                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                $61,000.00                  $61,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only
                                                                                   Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            4 bedroom, 2 bath


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                           $61,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 2         McCurdy, Daniel & McCurdy, Candidus                                                          Case number (if known)     18-13694

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                               Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2005 Chevy Venture
                                                             Check if this is community property                                $9,528.75                 $9,528.75
                                                               (see instructions)



  3.2    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                               Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        1997 Ford Explorer
                                                             Check if this is community property                                  $500.00                    $500.00
                                                               (see instructions)



  3.3    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                               Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        1989 Chevy Blazer
                                                             Check if this is community property                                  $500.00                    $500.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $10,528.75

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   19" color tv                                                                                                                 $75.00

                                   25" color tv                                                                                                                $100.00

                                   27" color tv                                                                                                                $125.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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 Debtor 2       McCurdy, Daniel & McCurdy, Candidus                                                     Case number (if known)     18-13694

                                   computer                                                                                                             $250.00

                                   Bedroom 1: king size bed, dresser, chest of drawers                                                                  $300.00

                                   Bedroom 2: queen size bed, dresser, tv stand                                                                         $300.00

                                   Bedroom 3: queen bed, dresser, night stand                                                                           $300.00

                                   Bedroom 4: queen size bed                                                                                            $100.00

                                   Den furniture: loveseat & chair                                                                                      $250.00

                                   table w/ 6 chairs                                                                                                    $200.00

                                   microwave                                                                                                             $30.00

                                   range                                                                                                                $150.00

                                   refrigerator                                                                                                         $250.00

                                   Living room: couch, tv entertainment center                                                                          $350.00

                                   washer/dryer                                                                                                         $250.00

                                   push mower                                                                                                            $75.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   personal clothing & wearing apparel                                                                               $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....




Official Form 106A/B                                           Schedule A/B: Property                                                                       page 3
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 Debtor 2          McCurdy, Daniel & McCurdy, Candidus                                                                             Case number (if known)   18-13694

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                     $4,105.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    No
     Yes........................                                                                Institution name:

18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.


Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 4
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.    Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.    Describe each claim.........



Official Form 106A/B                                              Schedule A/B: Property                                                                    page 5
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35. Any financial assets you did not already list
    No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                        $0.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $61,000.00
 56. Part 2: Total vehicles, line 5                                                                           $10,528.75
 57. Part 3: Total personal and household items, line 15                                                       $4,105.00
 58. Part 4: Total financial assets, line 36                                                                       $0.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $14,633.75              Copy personal property total            $14,633.75

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $75,633.75




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
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               Case 18-13694-JDW                     Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                                   Desc Main
                                                                  Document      Page 18 of 64
              Fill in this information to identify your case:

 Debtor 1                 Daniel McCurdy
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
   19" color tv                                                                                                                   Miss. Code Ann. § 85-3-1(a),
      Line from Schedule A/B: 6.1
                                                                           $75.00                                     $75.00
                                                                                                                                  (d)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      25" color tv                                                                                                                Miss. Code Ann. § 85-3-1(a),
      Line from Schedule A/B: 6.2
                                                                          $100.00                                    $100.00
                                                                                                                                  (d)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      27" color tv                                                                                                                Miss. Code Ann. § 85-3-1(a),
      Line from Schedule A/B: 6.3
                                                                          $125.00                                    $125.00
                                                                                                                                  (d)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      computer                                                                                                                    Miss. Code Ann. § 85-3-1(a),
      Line from Schedule A/B: 6.4
                                                                          $250.00                                    $250.00
                                                                                                                                  (d)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Bedroom 1: king size bed, dresser,                                                                                          Miss. Code Ann. § 85-3-1(a),
      chest of drawers
                                                                          $300.00                                    $300.00
                                                                                                                                  (d)
      Line from Schedule A/B: 6.5                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 4
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Bedroom 2: queen size bed, dresser,                                                                                    Miss. Code Ann. § 85-3-1(a),
     tv stand
                                                                      $300.00                                  $300.00
                                                                                                                            (d)
     Line from Schedule A/B: 6.6                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Bedroom 3: queen bed, dresser,                                                                                         Miss. Code Ann. § 85-3-1(a),
     night stand
                                                                      $300.00                                  $300.00
                                                                                                                            (d)
     Line from Schedule A/B: 6.7                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Bedroom 4: queen size bed                                                                                              Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.8
                                                                      $100.00                                  $100.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Den furniture: loveseat & chair                                                                                        Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.9
                                                                      $250.00                                  $250.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     table w/ 6 chairs                                                                                                      Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.10
                                                                      $200.00                                  $200.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     microwave                                                                                                              Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.11
                                                                       $30.00                                   $30.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     range                                                                                                                  Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.12
                                                                      $150.00                                  $150.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     refrigerator                                                                                                           Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.13
                                                                      $250.00                                  $250.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Living room: couch, tv                                                                                                 Miss. Code Ann. § 85-3-1(a),
     entertainment center
                                                                      $350.00                                  $350.00
                                                                                                                            (d)
     Line from Schedule A/B: 6.14                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     washer/dryer                                                                                                           Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.15
                                                                      $250.00                                  $250.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     push mower                                                                                                             Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 6.16
                                                                       $75.00                                   $75.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     personal clothing & wearing apparel                                                                                    Miss. Code Ann. § 85-3-1(a),
     Line from Schedule A/B: 11.1
                                                                   $1,000.00                                 $1,000.00
                                                                                                                            (d)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 4
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           Case 18-13694-JDW                         Doc 8       Filed 10/09/18 Entered 10/09/18 16:50:42                               Desc Main
                                                                Document      Page 20 of 64
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 3 of 4
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              Case 18-13694-JDW                      Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                                   Desc Main
                                                                  Document      Page 21 of 64
 Fill in this information to identify your case:

 Debtor 1
                             First Name                     Middle Name                     Last Name

 Debtor 2                    Candidus McCurdy
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number            18-13694
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 4 of 4
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               Case 18-13694-JDW                      Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                                      Desc Main
                                                                   Document      Page 22 of 64
              Fill in this information to identify your case:

 Debtor 1                   Daniel McCurdy
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Candidus McCurdy
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     J2 Auto Sales, LLC                       Describe the property that secures the claim:                  $9,528.75                 $9,528.75                    $0.00
         Creditor's Name
                                                  2005 Chevy Venture

         D/B/A J.D. Byrider                       As of the date you file, the claim is: Check all that
         2580 Mount Moriah Rd                     apply.
         Memphis, TN 38115-1512                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Money Matters                            Describe the property that secures the claim:                  $1,057.50                    $500.00             $557.50
         Creditor's Name
                                                  1997 Ford Explorer

                                                  As of the date you file, the claim is: Check all that
         161 Van Dorn Ave Ste D                   apply.
         Holly Springs, MS 38635                   Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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            Case 18-13694-JDW                           Doc 8        Filed 10/09/18 Entered 10/09/18 16:50:42                                  Desc Main
                                                                    Document      Page 23 of 64
 Debtor 1 Daniel McCurdy                                                                                   Case number (if know)    18-13694
              First Name                  Middle Name                     Last Name
 Debtor 2 Candidus McCurdy
              First Name                  Middle Name                     Last Name


 2.3    PLC                                        Describe the property that secures the claim:                     $900.00           $1,000.00              $400.00
        Creditor's Name
                                                   1997 Ford Explorer

                                                   As of the date you file, the claim is: Check all that
                                                   apply.
                                                    Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.4    Scott Robinson                             Describe the property that secures the claim:                 $64,000.00           $61,000.00           $3,000.00
        Creditor's Name
                                                   334 Rolfing Rd, Holly Springs, MS
                                                   38635-1404
                                                   4 bedroom, 2 bath
        195 Briarwood Dr                           As of the date you file, the claim is: Check all that
        Holly Springs, MS                          apply.
        38635-2726                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                                $75,486.25
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                               $75,486.25

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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      Fill in this information to identify your case:

 Debtor 1                   Daniel McCurdy
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Candidus McCurdy
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          State of Mississippi                                 Last 4 digits of account number         2635                $130.00                 $130.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 23078
              Jackson, MS 39225-3078
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 21
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             Case 18-13694-JDW                         Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                                            Desc Main
                                                                    Document      Page 25 of 64
 Debtor 1
 Debtor 2 McCurdy, Daniel & McCurdy, Candidus                                                               Case number (if know)          18-13694

 2.2        Tn Child Support                                      Last 4 digits of account number                         $26,855.00             $26,855.00                    $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?
            400 Deaderick St
            Nashville, TN 37243-1403
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                 Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes
 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Advance America                                          Last 4 digits of account number                                                                       $500.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            1698 Crescent Meadows Dr
            Holly Springs, MS 38635-7415
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
            Debtor 2 only                                            Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 21
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           Case 18-13694-JDW                         Doc 8      Filed 10/09/18 Entered 10/09/18 16:50:42                                          Desc Main
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 Debtor 1
 Debtor 2 McCurdy, Daniel & McCurdy, Candidus                                                        Case number (if know)            18-13694

 4.2      Bank of Holly Springs                                 Last 4 digits of account number                                                           $636.82
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 250
          Holly Springs, MS 38635-0250
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.3      Baptist                                               Last 4 digits of account number                                                           $123.22
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 17127
          Memphis, TN 38187-0127
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.4      Baptist Memorial Healthcare Corp                      Last 4 digits of account number                                                           $137.32
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 1000
          Memphis, TN 38101-2402
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.5      Baptist Southeast Street                              Last 4 digits of account number                                                           $265.17
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          5251 Ste 5
          Indianapolis, IN 46227
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.6      BMH Desoto                                            Last 4 digits of account number                                                           $123.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          7601 Southcrest Pkwy
          Southaven, MS 38671-4739
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.7      Capital One                                           Last 4 digits of account number                                                          $1,764.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.8      Capital One                                           Last 4 digits of account number                                                           $408.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.9      Capital One                                           Last 4 digits of account number                                                          $1,764.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.10     Cash Advance America                                  Last 4 digits of account number                                                          $1,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1698 Crescent Meadows Dr
          Holly Springs, MS 38635-7415
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.11     Cash Net USA                                          Last 4 digits of account number                                                           $864.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          175 W Jackson Blvd Ste 1000
          Chicago, IL 60604-2863
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.12     Cnactn109                                             Last 4 digits of account number                                                          $9,528.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          2580 Mount Moriah Rd
          Memphis, TN 38115-1512
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.13     Consolidated Recovery Systems                         Last 4 digits of account number                                                               $84.98
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 1719
          Memphis, TN 38101-1719
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.14     Credit One Bank                                       Last 4 digits of account number                                                           $479.89
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 60500
          City of Industry, CA 91716-0500
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.15     Credit One Bank NA                                    Last 4 digits of account number                                                           $519.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 98873
          Las Vegas, NV 89193-8873
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.16     Dr. Charles Fraga                                     Last 4 digits of account number                                                               $13.80
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 71115
          Charlotte, NC 28272-1115
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.17     Fed Loan Serv                                         Last 4 digits of account number                                                         $49,481.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 69184
          Harrisburg, PA 17106-9184
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.18     Fed Loan Serv                                         Last 4 digits of account number                                                         $11,586.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 69184
          Harrisburg, PA 17106-9184
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.19     First Premier Bank                                    Last 4 digits of account number                                                           $687.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5524
          Sioux Falls, SD 57117-5524
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.20     Fsb Blaze                                             Last 4 digits of account number                                                           $461.60
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5096
          Sioux Falls, SD 57117-5096
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.21     Gastroenterology Associates                           Last 4 digits of account number                                                               $19.33
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1208 Office Park Dr
          Oxford, MS 38655-3597
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.22     H&R Block                                             Last 4 digits of account number                                                           $315.50
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 677463
          Dallas, TX 75267-7463
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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          HC FC Healthcare Financial
 4.23     Services, LLC                                         Last 4 digits of account number                                                           $919.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          3429 Regal Dr
          Alcoa, TN 37701-3265
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.24     HRRG                                                  Last 4 digits of account number                                                               $92.37
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5406
          Cincinnnati, OH 45273-7942
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.25     James A Wilson                                        Last 4 digits of account number       0108                                               $3,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Judgment account opened 7/10/2012




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 4.26     Loan Master                                           Last 4 digits of account number                                                           $500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          117 Craft St Ste A
          Holly Springs, MS 38635-2909
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.27     Maxx South                                            Last 4 digits of account number                                                          $1,270.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 10027
          Toledo, OH 43699-0027
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.28     Memphis Lung Physician                                Last 4 digits of account number                                                               $34.21
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 17127
          Memphis, TN 38187-0127
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.29     Memphis Radiological                                  Last 4 digits of account number                                                               $14.18
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 1000
          Memphis, TN 38148-0001
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.30     Merrick Bank Corp                                     Last 4 digits of account number                                                           $824.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9201
          Old Bethpage, NY 11804-9001
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.31     Methodist Healthcare                                  Last 4 digits of account number                                                           $837.31
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 2279
          Memphis, TN 38101-2279
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.32     MFSI                                                  Last 4 digits of account number                                                           $499.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          6555 Quince Rd Ste 301
          Memphis, TN 38119-8220
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.33     Midsouth Imaging                                      Last 4 digits of account number                                                               $35.67
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5083
          Memphis, TN 38101-5083
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.34     Mile Stone Credit Card                                Last 4 digits of account number                                                           $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 4499
          Beaverton, OR 97076-4499
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.35     Money Makers                                          Last 4 digits of account number                                                           $500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          161D Van Dorn Ave
          Holly SPrings, MS 38635
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.36     MSCB                                                  Last 4 digits of account number                                                           $181.50
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1410 Industrial Park Rd
          Paris, TN 38242-6099
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.37     New Albany LGW                                        Last 4 digits of account number                                                               $33.46
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 727
          New Albany, MS 38652-0727
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.38     Oxford Urology Associates                             Last 4 digits of account number                                                               $40.95
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 1013
          Oxford, MS 38655-1013
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.39     Plain Green                                           Last 4 digits of account number                                                          $1,186.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1900 Frost Rd Ste 100
          Bristol, PA 19007-1519
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.40     Progressive leasing                                   Last 4 digits of account number                                                          $1,787.70
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          256 W Data Dr
          Draper, UT 84020-2315
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.41     Radiology Associates of Oxford                        Last 4 digits of account number                                                               $16.89
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 55449
          Jackson, MS 39296-5449
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

          Radiology Physicians of New
 4.42     Albany                                                Last 4 digits of account number                                                               $38.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 4767
          Jackson, MS 39296-4767
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

          Radiology Physicians of New
 4.43     Albany                                                Last 4 digits of account number                                                               $16.77
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 4767
          Jackson, MS 39296-4767
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.44     Sound Phy Em Greater Memphis                          Last 4 digits of account number                                                               $29.58
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 96408
          Oklahoma, OH 73143-6408
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.45     SPEEDYCASH.COM 152-MS                                 Last 4 digits of account number       1183                                                $468.38
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-04-25
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.46     Sutherland Cardiology Group                           Last 4 digits of account number                                                               $96.98
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 2279
          Memphis, TN 38101-2279
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.47     Tbom/Total Crd                                        Last 4 digits of account number                                                           $449.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 400
          Dixon, MO 65459-0400
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.48     Total Visa                                            Last 4 digits of account number                                                           $449.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          5109 S Broadband Ln
          Sioux Falls, SD 57108-2208
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.49     University of Memphis                                 Last 4 digits of account number                                                          $2,529.23
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 1000
          Memphis, TN 38148-0001
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.50      Verizon Wireless                                       Last 4 digits of account number                                                           $3,443.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           PO Box 26055
           Minneapolis, MN 55426-0055
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 4.51      Wakefield and Associates Inc                           Last 4 digits of account number                                                             $920.40
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           PO Box 59003
           Knoxville, TN 37950-9003
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                         Contingent
           Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Ad Astra Recovery Serv                                     Line 4.45 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 7330 W 33rd St N Ste 118                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Wichita, KS 67205-9370
                                                            Last 4 digits of account number                    1183
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Alcola Billing Center                                      Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3429 Regal Dr                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Alcoa, TN 37701-3265
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Baptist                                                    Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 660883                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75266-0883
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 19 of 21
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           Case 18-13694-JDW                         Doc 8       Filed 10/09/18 Entered 10/09/18 16:50:42                                        Desc Main
                                                                Document      Page 43 of 64
 Debtor 1
 Debtor 2 McCurdy, Daniel & McCurdy, Candidus                                                         Case number (if know)         18-13694

 Marshall County Justice Court                              Line 4.25 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 PO Box 729                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Holly Springs, MS 38635-0729
                                                            Last 4 digits of account number                  0108
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Medical Finc                                               Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 6555 Quince Road Ste 301                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Methodist Healthcare                                       Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 71115                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28272-1115
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 MFSI                                                       Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 6555 Quince Rd Ste 301                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38119-8220
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Oxford Urology Associates                                  Line 4.38 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2168 S Lamar Blvd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Oxford, MS 38655-5224
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Sound Phy Em Greater Memphis                               Line 4.44 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 748113                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Los Angeles, CA 90074-8113
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Southeastern Emergency                                     Line 4.51 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Physicians                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 740023
 Cincinnati, OH 45274-0023
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Universal Collections                                      Line 4.28 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 751090                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38175-1090
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept of Educatio                                        Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 16448                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55116-0448
                                                            Last 4 digits of account number

 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept of Educatio                                        Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 16448                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55116-0448
                                                            Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                             6a.       $                   26,855.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                     6b.       $                       130.00

Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 20 of 21
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 Debtor 1
 Debtor 2 McCurdy, Daniel & McCurdy, Candidus                                                           Case number (if know)    18-13694
                        6c.   Claims for death or personal injury while you were intoxicated             6c.     $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.     $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.     $                 26,985.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.     $                      0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.     $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                              $               102,274.21

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.     $               102,274.21




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 21 of 21
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              Case 18-13694-JDW                         Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                               Desc Main
                                                                     Document      Page 45 of 64
              Fill in this information to identify your case:

 Debtor 1                 Daniel McCurdy
                          First Name                         Middle Name              Last Name

 Debtor 2                 Candidus McCurdy
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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              Case 18-13694-JDW                           Doc 8         Filed 10/09/18 Entered 10/09/18 16:50:42                  Desc Main
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              Fill in this information to identify your case:

 Debtor 1                   Daniel McCurdy
                            First Name                           Middle Name        Last Name

 Debtor 2                   Candidus McCurdy
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number            18-13694
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Daniel McCurdy

Debtor 2                      Candidus McCurdy
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF MISSISSIPPI, OXFORD
                                              DIVISION

Case number               18-13694                                                                         Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                                 Not employed
       employers.
                                             Occupation                                                           cake decorator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                      Carlisle's Big Star

       Occupation may include student or Employer's address
                                                                                                                  PO Box 536
       homemaker, if it applies.
                                                                                                                  Holly Springs, MS 38635-0536

                                             How long employed there?                                                      11 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00       $         1,499.07

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00              $   1,499.07




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    McCurdy, Daniel & McCurdy, Candidus                                                     Case number (if known)    18-13694


                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $         1,499.07

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $         207.31
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $           0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $           0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $           0.00
      5e.    Insurance                                                                       5e.        $              0.00     $           0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $           0.00
      5g.    Union dues                                                                      5g.        $              0.00     $           0.00
      5h.    Other deductions. Specify: Advance 1                                            5h.+       $              0.00 +   $         541.67
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $         748.98
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $         750.09
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $          0.00         $               0.00
      8d. Unemployment compensation                                                          8d.        $          0.00         $               0.00
      8e.    Social Security                                                                 8e.        $        956.00         $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $            956.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $             956.00 + $             750.09 = $          1,706.09
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $           1,706.09
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                           page 2
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Fill in this information to identify your case:

Debtor 1                Daniel McCurdy                                                                        Check if this is:
                                                                                                               An amended filing
Debtor 2                Candidus McCurdy                                                                       A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                               expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF MISSISSIPPI,                                           MM / DD / YYYY
                                          OXFORD DIVISION

Case number           18-13694
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.     Fill out this information for
                                                    each dependent..............
                                                                                    Dependent’  s relationship to
                                                                                    Debtor 1 or Debtor 2
                                                                                                                         Dependent’
                                                                                                                         age
                                                                                                                                  s      Does dependent
                                                                                                                                         live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                             son                                  20              Yes
                                                                                                                                          No
                                                                                    son                                  19              Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                             4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                                4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                    4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                    4c.    $                            0.00
      4d. Homeowner’     s association or condominium dues                                                   4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5.    $                            0.00



Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1
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Debtor 1
Debtor 2     McCurdy, Daniel & McCurdy, Candidus                                                       Case number (if known)       18-13694

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              224.79
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                0.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              200.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                                0.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                               125.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                  0.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:        Cell Phones                                                       21. +$                                                50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                         699.79
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                         699.79
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,706.09
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                                699.79

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               1,006.30

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    Daniel McCurdy
                            First Name             Middle Name             Last Name

Debtor 2                    Candidus McCurdy
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

Case number              18-13694
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Daniel McCurdy                                                X   /s/ Candidus McCurdy
             Daniel McCurdy                                                    Candidus McCurdy
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       October 8, 2018                                        Date    October 8, 2018
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              Fill in this information to identify your case:

 Debtor 1                   Daniel McCurdy
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Candidus McCurdy
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $              61,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              14,633.75

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              75,633.75

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              75,486.25

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              26,985.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             102,274.21


                                                                                                                                     Your total liabilities $                   204,745.46


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                1,706.09

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                   699.79

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 2     McCurdy, Daniel & McCurdy, Candidus                                            Case number (if known) 18-13694

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $         2,339.76


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $            26,855.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              130.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             26,985.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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            Fill in this information to identify your case:

 Debtor 1                 Daniel McCurdy
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Candidus McCurdy
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI, OXFORD DIVISION

 Case number           18-13694
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until             Wages, commissions,                               $0.00       Wages, commissions,                    $18,869.00
 the date you filed for bankruptcy:              bonuses, tips                                                   bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 2     McCurdy, Daniel & McCurdy, Candidus                                                         Case number (if known)   18-13694


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 For last calendar year:                           Wages, commissions,                              $0.00       Wages, commissions,                 $18,869.00
 (January 1 to December 31, 2017 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:                Wages, commissions,                              $0.00       Wages, commissions,                 $19,963.00
 (January 1 to December 31, 2016 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

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8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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      or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your       Value of property
       how the loss occurred                                                                                                loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       Mayfield Law Firm, P.A.                                      Ch. 13 Fees & Expenses ($88                                                        $398.00
       PO Box 9                                                     cincompass, $310 filing fee)
       Tupelo, MS 38802-0009


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                  Describe any property or        Date transfer was
       Address                                                      property transferred                      payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made




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 Debtor 2      McCurdy, Daniel & McCurdy, Candidus                                                             Case number (if known)   18-13694


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or            Date account was        Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                    closed, sold,            closing or transfer
       Code)                                                                                                               moved, or
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?                 Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                              have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                            have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                             Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                    Status of the
        Case Number                                                Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                         Describe the nature of the business                  Employer Identification number
        Address                                                                                                    Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Daniel McCurdy                                                    /s/ Candidus McCurdy
 Daniel McCurdy                                                        Candidus McCurdy
 Signature of Debtor 1                                                 Signature of Debtor 2

 Date      October 8, 2018                                             Date        October 8, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

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      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                     Northern District of Mississippi, Oxford Division
 In re       McCurdy, Daniel & McCurdy, Candidus                                                             Case No.     18-13694
                                                                             Debtor(s)                       Chapter      13

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                  3,400.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                  3,400.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 8, 2018                                                         /s/ Catherine Umberger
     Date                                                                    Catherine Umberger
                                                                             Signature of Attorney
                                                                             Mayfield Law Firm, P.A.

                                                                             PO Box 9
                                                                             Tupelo, MS 38802-0009
                                                                             (662) 841-8844 Fax: (662) 680-3178
                                                                             cu@mayfieldlawfirm.com
                                                                             Name of law firm




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